      Case: 6:17-cv-00157-CHB-HAI Doc #: 29 Filed: 12/11/17 Page: 1 of 2 - Page ID#: 348
                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION - LONDON
                                      CIVIL MINUTES

CASE NO: 6:17-CV-157-KKC                     AT: London                DATE: December 11, 2017
  STYLE: David Wilson v. Beacon Transport, LLC, et al.



PRESENT:            HON. HANLY A. INGRAM, MAGISTRATE JUDGE


                      N/A                                                  N/A
               DEPUTY CLERK                                       COURT REPORTER


             Timothy Daniel Lange
               D. Randall Jewell                                   Harlan E. Judd, III
         ATTORNEYS PRESENT FOR                                ATTORNEY PRESENT FOR
               PLAINTIFF                                          DEFENDANTS



PROCEEDINGS:        TELEPHONIC CONFERENCE CALL



Remarks:    This matter was called for a telephonic conference with counsel participating as noted. No
            follow-up conference was deemed necessary.


  X            Counsel advised the Court that the case is proceeding according to the deadlines set
               forth in the Scheduling Order.

               Counsel advised the Court that they would be unable to comply with the Scheduling
               Order, and the Court advised counsel of the need to request relief from deadlines by
               proper motion.

               Counsel advised the Court that no discovery issues currently require the Court’s
  X
               attention. The Court directed the parties to follow the discovery dispute resolution
               procedure in the scheduling order if disputes arise.

               Counsel described a discovery dispute which currently requires the Court’s attention,
               as described above.

               The Court addressed the possibility of settlement before trial, and advised counsel that
  X
               it would promptly conduct a settlement conference upon joint request of the parties.
               The Court instructed counsel to contact chambers to make such a request.
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               Counsel jointly requested a settlement conference and the Court will promptly schedule
               one.

               The Court asked counsel if any other pretrial issues required the Court’s attention.
  X
               Counsel informed the Court that no other issues require the Court’s attention at this
               time.

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